UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

AT KNOXVILLE
KEVIN FADDIS, *
*
Plaintiff, *
*
VS. * Case No. 3:09-cv-193
* (R. Leon Jordan, Judge,
WESTFIELD INSURANCE COMPANY, * C. Clifford Shirley, Magistrate .Iudge)
sic
=;=

Defendant. (.Iury Demand)

ORDER DISMISSING PUNITIVE DAMAGES

Defendant, Westfield Insurance Com'pany, filed a Partial Motion to Dismiss. Counsel for
Plaintiff, Arthur Knight, has now agreed to dismiss from his lawsuit any and all allegations Seeking
punitive damages. Aceordingly, it is ORDERED that all allegations in the Complaint wherein punitive

damages are being sought by the Plaintiff are hereby dismissed.

 

 

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* 117 V\U _,
Judge \7$~
APPROVED FOR ENTRY=
S/)errhar QF. Knighr, III (by SMH per authority Of 05/13/09)

Arthur F. Knight, III (BPR #016178)
Counsel for Plaintiff

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